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   July 15th, 2015

   Mohammed Aslam Khan
   9124 6th street
   Lanham, MD 20706
   202-251-0000

   Subject:      Character Reference for Muneeb Akhter


   Dear Honorable Judge,

   My name is Mohammed Khan, I am Muneeb’s uncle. I have known Muneeb all his
   life and have had a close relationship. He is a very impressive and loving nephew
   with unique qualities. I acknowledge some mistakes he has made recently,
   however, overall I have known him to be very loving and caring person. All my kids
   admire him and see him as a wonderful brother. He has never been violent or
   elusive to the family. His dedication to family is always manifested when we have
   family get gatherings where he enthusiastically participates in our family activities
   from sports, picnics, parties and events.

   He currently lives with my mother. I live in Maryland, however, having Muneeb with
   my mother I feel comfortable that she has someone with her who can take care of
   her and trust him to be responsible in her care. He is always willing to be available
   for any support she needs in her daily chores or activities. The care that he shows
   to my mother is very impressive and I am very grateful for the honor and respect he
   shows towards the elders of our family.

   Therefore, your Honor, I humbly request leniency towards Muneeb Akhter, since he
   is young and due to peer pressures and societal influences he has made mistakes
   and he has recognized his offence. If given another opportunity, I believe he will be
   a great asset to our family and our community. Furthermore, he is a critical member
   of our family, especially to my kids, and his absence will have drastic negative
   effects to our family.

   Our family thanks you greatly in advance if you can show some compassion and give
   Muneeb a second chance in life to prove his worth to you and to our family.

   Sincerely,


   Mohammed Aslam Khan
